                           NOT FOR PUBLICATION                           FILED
                    UNITED STATES COURT OF APPEALS                       AUG 27 2024
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
                           FOR THE NINTH CIRCUIT

UNITED STATES OF AMERICA,                       No. 24-1310
                                                D.C. No. 3:11-cr-00097-CRB-1
             Plaintiff - Appellee,

 v.
                                                MEMORANDUM*
CUONG MACH BINH TIEU, AKA
Steve, AKA Hak Se Wui, AKA Ah Keung,

             Defendant - Appellant.

                   Appeal from the United States District Court
                     for the Northern District of California
                   Charles R. Breyer, District Judge, Presiding

                           Submitted August 20, 2024**

Before:      S.R. THOMAS, RAWLINSON, and COLLINS, Circuit Judges.

      Cuong Mach Binh Tieu appeals pro se from the district court’s order

denying his motion for a sentence reduction under 18 U.S.C. § 3582(c)(2). We

have jurisdiction under 28 U.S.C. § 1291, and we affirm.



      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
      **
             The panel unanimously concludes this case is suitable for decision
without oral argument. See Fed. R. App. P. 34(a)(2).
      As an initial matter, the government contends that Tieu’s notice of appeal is

untimely. Tieu responds that he timely placed a stamped envelope containing a

request for an extension of time in his cell door for mailing during a prison

lockdown. We need not resolve this issue because, even if the appeal is timely,

Tieu’s arguments fail. See United States v. Sadler, 480 F.3d 932, 936 (9th Cir.

2007) (timely notice of appeal in a criminal case is not jurisdictional).

      Tieu sought relief under Amendments 782 and 821 to the Sentencing

Guidelines. Contrary to Tieu’s argument, the district court did not previously find

that he was eligible for a reduction under Amendment 782; rather, it did not

resolve that question because Tieu was ineligible for relief even if the Amendment

applied. In deciding the instant motion, the court correctly determined that

Amendment 782 did not lower Tieu’s guideline range given the amount of drugs

involved in his offense. See U.S.S.G. § 2D1.1(c)(1).

      Amendment 821, by contrast, did lower Tieu’s guideline range. As the

district court correctly concluded, however, Tieu is ineligible for relief because his

220-month sentence is below the amended range. See U.S.S.G. § 1B1.10(b)(2)(A)

(“[T]he court shall not reduce the defendant’s term of imprisonment . . . to a term

that is less than the minimum of the amended guideline range.”).

      We do not address Tieu’s arguments raised for the first time in the reply

brief. See Padgett v. Wright, 587 F.3d 983, 985 n.2 (9th Cir. 2009); see also Dillon



                                         2                                   24-1310
v. United States, 560 U.S. 817, 831 (2010) (sentencing issues unrelated to the

guideline amendment may not be raised in § 3582(c)(2) proceedings).

      AFFIRMED.




                                       3                                   24-1310
